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                   IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
   American Environmental              :
   Enterprises, Inc. d/b/a             :
   THESAFETYHOUSE.COM                  :
                          Plaintiff,   :    CIVIL ACTION
   v.                                  :    No. 2022-CV-00688(JMY)
   Manfred Sternberg, Esquire;         :
   Manfred Sternberg & Associates, PC; :
   Charlton Holdings Group, LLC;       :
   Samuel Gross; Gary Weiss; A. Solar, :
   LLC; Daphna Zekaria, Esq.; and,     :
   Sokolski & Zekaria, PC,             :
                         Defendants,


    DEFENDANTS MANFRED STERNBERG, ESQ AND MANFRED STERNBERG &

      ASSOCIATES, PC MOTION TO EXTEND DISCOVERY PURSUANT TO RULES

                                          6(B)(1)(A) AND 16(B)(4)


          Defendants Manfred Sternberg, Esquire and Manfred Sternberg & Associates, PC (collectively

  “Movants”), by and through their counsel, state as follows in support of their Motion To Extend

  Discovery Deadline Pursuant to Rules 6(b)(1)(A) and 16(b)(4):

          1.       A very brief extension of the fact discovery deadline – four days – is necessary to

  conduct the deposition of the plaintiff and to conclude the deposition of Mr. Sternberg.




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        2.       The undersigned counsel and counsel for Plaintiff have met and conferred in person,

via telephone, and through emails to address our ongoing request to conduct Plaintiff’s deposition

and their request to continue Mr. Sternberg’s deposition. We are of the understanding that a corporate

designee is prepared to testify on Plaintiff’s behalf on Tuesday, July 23, 2024. As an accommodation,

and in the interest of compromise, we have agreed to make Mr. Sternberg available for a remote

deposition, not to exceed 90-minutes, on Monday, July 22, 2024.

        3.       Although the parties are apparently in agreement to proceed in this fashion, this

motion is a good faith effort to preserve Movants’ right to depose Plaintiff, even if after the current

fact discovery deadlines, and particularly given that Movants are the sole remaining defendants with

representation by counsel in this complex matter.

        4.       Pursuant to Fed. R. Civ. P. 6(b)(1)(A), the court may, for good cause, extend the time

within which an act may or must be done where a request to so extend is made before the original

time or its extension expires.

        5.       Pursuant to Fed. R. Civ. P. 16(b)(4), a schedule may be modified for good cause and

with the judge’s consent. “The primary measure of Rule 16’s ‘good cause’ standard is the moving

party’s diligence in attempting to meet the case management order’s requirements.” Race Tires Am.,

Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 84 (3d Cir. 2010).

        6.       The Court issued an Amended Scheduling Order on March 20, 2024 at ECF 154,

annexed hereto as Exhibit “A.”

        7.       Defendant Manfred Sternberg, Esquire, whose residence and place of business are

located in Texas, provided deposition testimony in Blue Bell, Pennsylvania, on February 7, 2024.

        8.       Although Mr. Sternberg testified fully and completely, the undersigned agreed to

conduct another, short deposition session as an accommodation to Plaintiff and in the interest of

compromise.


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         9.      With respect to the duly noticed deposition of Plaintiff’s designated representative, the

undersigned and Plaintiff’s counsel coordinated mutually agreeable dates. Most recently, Plaintiff’s

counsel informed the undersigned that Plaintiff’s deposition is confirmed for Tuesday, July 23, 2024

at 10:00 AM in my Philadelphia office.

         10.     Upon attempting to document the parties’ agreement in an appropriate stipulation, the

undersigned and Plaintiff’s counsel could not come to an agreement for reasons that are not entirely

clear.

         11.     There can be no legitimate dispute that Plaintiff’s deposition is critical to these

proceedings. Moreover, Plaintiff’s counsel has agreed to provide an appropriate designee to be

deposed.

         12.     Likewise, the undersigned has agreed in good faith to produce Mr. Sternberg for more

testimony.

         13.     Since these depositions will occur outside of the current discovery window, it is

respectfully requested that a brief extension of four days is necessary to permit Plaintiff’s deposition

to proceed on Tuesday, July 23, 2024.

         14.     Movants request that the Court extend the Friday, July 19, 2024 deadline for fact

discovery established in the Court’s Amended Scheduling Order (Exhibit “A”) to accommodate the

agreed-upon and noticed depositions described above.

         15.     Movants remain willing to make Mr. Sternberg available for additional deposition

testimony on any mutually agreeable date on or before Friday, July 26, 2024. (Any further extension

would implicate the other case management deadlines, including expert discovery).

         16.     Movants have proceeded diligently with discovery in this matter.

         17.     Movants respectfully submit to the Court that, as set forth above, there is good cause

to grant them the relief they seek in this motion.


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        WHEREFORE, for the reasons stated herein, Defendants Manfred Sternberg, Esquire and

Manfred Sternberg & Associates, PC request that this Honorable Court enter an order: (1) granting

Defendants’ motion; (2) amending the March 20, 2024 Amended Scheduling Order to allow for the

Plaintiff’s depositions on July 23, 2024.

                                            Respectfully submitted,

                                                      GOLDBERG SEGALLA LLP

                                            By:       /s/ Joseph Ross
                                                      Seth L. Laver, Esquire
                                                      Joseph Ross, Esquire
                                                      Attorneys for Defendants
Date: July 18, 2024                                   Manfred Sternberg, Esquire; Manfred Sternberg &
                                                      Associates, PC




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                                        CERTIFICATE OF SERVICE

        The undersigned states that a copy of the foregoing Motion of Defendants Manfred Sternberg,

Esquire and Manfred Sternberg & Associates, PC To Extend Discovery Pursuant to Rules 6(b)(1)(A)

and 16(b)(4) was filed with the United States District Court – Eastern District of Pennsylvania using

the CM/ECF system on July 18, 2024, which will send notification of such filings to all parties of

record. It was also served via electronic mail in the following manner:

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                                                By:       /s/ Joseph Ross
                                                          Joseph Ross, Esquire
Date: July 18, 2024




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